          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:07CR28


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           VS.                           )           ORDER
                                         )
                                         )
JAMES AUGUSTUS WILLIAMS                  )
                                         )


     THIS MATTER is before the Court on the Defendant’s motion in

limine and to suppress, filed May 15, 2007.

     Defendant seeks to prevent the Government from making any

reference to or mention of the Defendant’s “alleged prior involvement with

possession of stolen goods and/or the pawning of the same at local pawn

shops” because such evidence is irrelevant and would extremely prejudice

the Defendant or confuse the jury. See Defendant’s Motion, at 1.

     The indictment charges the Defendant and others with conspiracy to

commit identity theft, credit card fraud, bank fraud and car break-ins. The

Defendant and others would then use the stolen credit cards and other

personal identification cards to obtain goods and services from retail




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establishments such as Target, K-Mart, Best Buy and pawn shops. Count

Six of the indictment specifically alleges that the Defendant and co-

Defendants Moore and Sexton used a stolen driver’s license to “pawn

items in exchange for cash.” Indictment, at 5. Likewise, Count Ten

charges the Defendant and co-Defendants Sexton and Camacho with

fraudulently using a stolen American Express card to obtain goods from a

Target department store and stealing and converting to their own use two

U.S. Treasury Department checks. Id. Counts Seventeen and Eighteen of

the Indictment also specifically allege that the Defendant and co-

Defendants Moore and Sexton did aid and abet one another in breaking

and entering motor vehicles within the Pisgah National Forest with the

intent to commit a felony or larceny therein. Id. at 7.

      Defendant argues that any evidence concerning his alleged prior

involvement with selling stolen property to pawn shops would have little

probative value and would unfairly prejudice him. Motion, at 2. However,

a review of the indictment indicates that the alleged acts are actually part

of the offense conduct. The Court notes that the Government has not filed

a Rule 404(b) notice; however, in the event that such conduct is not part of

the offense, the Government must do so.



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     IT IS, THEREFORE, ORDERED that the Defendant’s motion in

limine and to suppress is DENIED.

                                    Signed: May 17, 2007




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